09-50026-mg   Doc 13025-9   Filed 12/16/14 Entered 12/16/14 16:56:41   Exhibit 9
                                   Pg 1 of 20



                               EXHIBIT 9
  09-50026-mg
Case            Doc 13025-9
     2:14-bk-20017  Doc 422 Filed
                             Filed 12/16/14
                                   06/19/14 Entered
                                               Entered 12/16/14
                                                       06/19/14 16:56:41
                                                                15:16:08 Exhibit 9
                                                                         Desc Main
                            DocumentPg 2 of 20
                                          Page 1 of 1
        09-50026-mg
        Case           Doc 13025-9
             2:14-bk-20017  Doc 422-1 FiledFiled
                                            12/16/14    Entered
                                                 06/19/14       12/16/14
                                                           Entered       16:56:41
                                                                    06/19/14        Exhibit
                                                                             15:16:08  Desc 9
                                              Pg 3 of 20
                          Order Mailing: Notice Recipients Page 1 of 14
                                                       Notice Recipients
District/Off: 0425−2                         User: skh                         Date Created: 6/19/2014
Case: 2:14−bk−20017                          Form ID: pdf001                   Total: 898


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
aty         McGuireWoods LLP
2338417     AMFIRE Mining Company, LLC
2338416     Alpha Coal West, Inc.
2338420     Bandmill Coal Corporation
2338421     Brooks Run Mining Company, LLC
2338423     Cobra Natural Resources, LLC
2338426     Cumberland Coal Resources, LP
2338427     Delbarton Mining Company
2338429     Dickenson−Russell Coal Company, LLC
2338432     Elk Run Coal Company, Inc.
2338433     Emerald Coal Resources, LP
2338434     Enterprise Mining Company, LLC
2338438     Goals Coal Co. (operated by Alex Energy)
2338439     Green Valley Coal Co. (operated by Alex Energy)
2338442     Independence Coal Company, Inc.
2338447     Joseph Hundley
2338449     Kepler Processing Company
2338451     Kingston Processing, Inc.
2338452     Knox Creek Coal Corporation
2333162     Linda Legg
2338453     Litwar Processing Company, LLC
2338455     Marfork Coal Company, Inc.
2338459     Paramount Coal Company Virginia, LLC
2338460     Patrick J. Copple, Sr.
2338461     Pigeon Creek Processing Corporation
2338463     Power Mountain Coal Co (by Alex Energy)
2338464     Rockspring Development, Inc.
2338465     Sidney Coal Company, Inc.
2338466     Spartan Mining Co. d/b/a Mammoth Coal Co
                                                                                                         TOTAL: 29

Recipients of Notice of Electronic Filing:
ust         United States Trustee              ustpregion04.ct.ecf@usdoj.gov
aty         Aaron L. Harrah             aaron@hpcbd.com
aty         Anthony J. Majestro               amajestro@powellmajestro.com
aty         Bernard E. Layne, III              blayne@mel−law.com
aty         Charles J Kaiser, Jr             cjkaiser@pgka.com
aty         Christopher S. Smith               chris@hhsmlaw.com
aty         Damon L. Ellis             dlellis@mel−law.com
aty         Danielle L Dietrich              ddietrich@tuckerlaw.com
aty         David L. Bissett            David.L.Bissett@usdoj.gov
aty         David R Barney, Jr              drbarneywv@gmail.com
aty         Debra A. Wertman                debra.a.wertman@usdoj.gov
aty         Denise Knouse−Snyder                 denisesnyder@pgka.com
aty         Douglas L. Lutz             dlutz@fbtlaw.com
aty         Ellen S. Cappellanti              ecappellanti@jacksonkelly.com
aty         Eric M. Wilson             eric.m.wilson@wv.gov
aty         Gary L. Call           usawvs.ecfbankruptcy@usdoj.gov
aty         George J. Joseph             gjoseph@manniongray.com
aty         Holland N. O'Neil              honeil@gardere.com
aty         J C Powell         jcpowell@powellmajestro.com
aty         J. Nicholas Barth            nbarth@barth−thompson.com
aty         James C. Peterson              jcpeterson@hpcbd.com
aty         James W. Lane, Jr.              jlane@fsblaw.com
aty         Jared M Tully            jtully@fbtlaw.com
aty         Jason Alter          jalter@mcguirewoods.com
aty         Jeffrey D. Kaiser            jeffkaiser@pgka.com
aty         John E. Tangren             jtangren@gelaw.com
aty         John R. Brumberg               jrb@pietragallo.com
aty         John T. Miesner             john@wvlawyer.net
aty         Jonathan R. Mani              jrmani@mel−law.com
aty         Joshua H Van Eaton                josh.van.eaton@usdoj.gov
aty         Mark E Freedlander                mfreedlander@mcguirewoods.com
aty         Marshall C. Spradling               marshall@spradlinglaw.net
aty         Norman E. Gilkey               ngilkey@bccz.com
aty         Paul K Vey            pkv@pietragallo.com
aty         R. Edison Hill           rehill@hpcbd.com
aty         Raymond G. Dodson                  ray.dodson@frontier.com
        09-50026-mg
        Case           Doc 13025-9
             2:14-bk-20017  Doc 422-1 FiledFiled
                                            12/16/14    Entered
                                                 06/19/14       12/16/14
                                                           Entered       16:56:41
                                                                    06/19/14        Exhibit
                                                                             15:16:08  Desc 9
                                              Pg 4 of 20
                          Order Mailing: Notice Recipients Page 2 of 14
aty          Robert O. Lampl         rol@lampllaw.com
aty          Robin Eiseman         eiseman.robin@epa.gov
aty          Roger A. Decanio         rdecanio@thesutterlawfirm.com
aty          Ronald E. Gold        rgold@fbtlaw.com
aty          Stephen L. Thompson          sthompson@barth−thompson.com
aty          Steven L. Thomas         sthomas@kaycasto.com
aty          Timothy C. Bailey         timbailey@bbjlc.com
aty          Van Bunch          vbunch@bffb.com
aty          W. Bradley Sorrells         wbs@ramlaw.com
aty          William C. Ballard         wcballard@jacksonkelly.com
aty          William F. Dobbs, Jr.        wdobbs@jacksonkelly.com
aty          William V. DePaulo          william.depaulo@gmail.com
                                                                                                                          TOTAL: 48

Recipients submitted to the BNC (Bankruptcy Noticing Center):
dbpos       Freedom Industries, Inc.          1015 Barlow Drive         Charleston, WV 25311
cr          Scott Miller        Bar 101, LLC          101 Capitol Street         Charleston, WV 25301
cr          John T Miesner          PO Box 8396           South Charleston, WV 25303
intp        United States of America           c/o United States Attorney's Office        P.O. Box 1713          Charleston, WV
cr          West Virginia Department of Tax and Revenue              P. O. Box 766          Charleston, WV 25321−0766
cr          Janet Thompson           1326 Elmwood Avenue             Charleston, WV 25301
cr          South Hills Market and Cafe, LLC            1010 Bridge Road           Charleston, WV 25301
cr          EJKEnterprises, LLC            405 Capitol Street        Charleston, WV 25301 UNITED STATES
cr          Stephen Noble Smith            208 Bradford Street        Chalreston, WV 25301
crcmch      Larry Bostick         Archer Daniels Midland           4666 Faries Parkway          Decatur, IL 62526
crcm        Daniel K. Adkins           Hartman &Tyner, Inc. aka Mardigras Cas.            1 Greyhound Drive          Cross Lanes, WV
            25356
crcm        Charles W. Lawler           Rogers Electrical Contracting Company            2110 Pleasant Valley Road           Fairmont,
            WV 26554
crcm        Stephen Smith          208 Bradford Street, 3rd Floor         Charleston, WV 25301
crcm        Carolyn Mount, SPHR             West Virginia American Water            1600 Pennsylvania Avenue           Charleston, WV
            25301
sp          Pietragallo Gordon Alfano Bosick &Raspanti, LLP              One Oxford Centre, 38th Floor           Pittsburgh, PA 15219
sp          Babst, Calland, Clements &Zomnir, P.C.             Two Gateway Center, 6th Floor           Pittsburgh, PA 15222
cr          Daniel Cleve Stewart           1598 Kanawha Boulevard, E            Charleston, WV 25311
cr          Mark Strickland          1598 Kanawha Boulevard, East            Charleston, WV 25311
cr          Melissa Jean Medley           1598 Kanawha Boulevard, East            Charleston, We 25311
cr          J. E.       1598 Kanawha Boulevard, East             Charleston, WV 25311
op          Gary Southern          P.O. Box 2031          Charleston, WV 25327−2031 UNITED STATES
op          Civil &Environmental Consultants, Inc.            Attn: Harry J. Soose, Jr.       333 Baldwin Road           Pittsburgh, PA
            15205
intp        Dennis P. Farrell         c/o Robert O Lampl          Robert O Lampl Law Office           960 Penn Avenue            Suite
            1200         Pittsburgh, PA 15222
cr          Simply Trucking           80 Hilltop Drive        Elkview, WV 25071
intp        James W. Lane, Jr.          200 Capitol Street        PO Box 3843           Charleston, WV 25338
aty         Barth &Thompson             P.O. Box 129         Charleston, WV 25321
aty         Frost Brown Todd LLC             3300 Great American Tower            301 East Fourth Street         Cincinnati, OH
            45202−4182
aty         A. L. Emch          Jackson &Kelly PLLC            1600 Laidley Tower           P.O. Box 553         Charleston, WV 25322
aty         Adam J. Levitt         Grant &Eisenhofer P.A.           30 North LaSalle Street, Suite 1200         Chicago, IL 60602
aty         Anne C. Blankenship            Babst, Calland, Clements &Zomnir, P.C.            United Center, 500 Virginia Street
            East        Charleston, WV 25301
aty         Edward M. King           Frost Brown Todd LLC             400 West Market Street, 32nd Floor          Louisville, KY
            402020
aty         Guy R. Bucci          P.O. Box 3712          Charleston, WV 25337
aty         John Kennedy Bailey            John Kennedy Bailey Law            P.O. Box 2505         Charleston, WV 25329
aty         Kevin W Thompson              Thompson Barney           2030 Kanawha Blvd E           Charleston, WV 25311
aty         Michael A. Shiner          Tucker Arensberg, P.C.          1500 One PPG Place           Pittsburgh, PA 15222
aty         Michael J. Roeschenthaler           McGuireWoods, LLP             625 Liberty Avenue, 23rd Floor          Pittsburgh, PA
            15222
aty         P. Rodney Jackson           Law Offices of Rod Jackson           401 Fifth Third Center         700 Virginia Street,
            East        Charleston, WV 25301
aty         P. Rodney Jackson           Law Offices of Rod Jackson           401 Fifth−Third Center          700 Virginia Street
            East        Charleston, WV 25301
aty         Ronald W. Crouch            625 Liberty Avenue, 23rd Floor          Pittsburgh, PA 15222
aty         Scott Schuster         McGuireWoods LLP             625 Liberty Avenue, 23rd Floor           Pittsburgh, PA 15222
aty         Shawn R. Romano             Romano &Associates, PLLC             230 Capitol Street        Suite 200        Charleston, WV
            25301
smg         United States Attorney          Southern District WV          P.O. Box 1713          Charleston, WV 25326−1713
smg         WV Department of Tax &Revenue               Bankruptcy Unit          P.O. Box 766         Charleston, WV 25323−0766
2332800     3F Chimica (Kemira Group)             2965 Momentum Place            Chicago, IL 60689−5329
2332801     84 Lumber          120 Little Sandy Road          Elkview, WV 25071
2332803     A1 Heating &Air           PO Box 7479           Charleston, WV 25356
2332807     ACME Delivery LLC              200 25th Street        Dunbar, WV 25064
2332809     ADM           PO Box 300017            Duluth, GA 30096−0300
2332816     AKJ Industries         10175 Six Mile Cypress Highway              Unit 1       Fort Myers, FL 33966
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14    Entered
                                               06/19/14       12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                            Pg 5 of 20
                        Order Mailing: Notice Recipients Page 3 of 14
2332834   ALS Group USA, Corp             PO Box 975444            Dallas, TX 75397
2332856   AT T         PO Box 536216           Atlanta, GA 30353−6216
2332857   AT        PO Box 6463          Carol Stream, IL 60197−6463
2356286   ATTMobility II LLC           %ATTSERVICES INC.                  KAREN A. CAVAGNARO PARALEGAL                         ONE
          ATTWAY, SUITE 3A104                 BEDMINSTER, NJ. 07921                908−532−1957 km1426@att.com
2332804   Aaron Air        3303 1/2 4th Ave W            Belle, WV 25015
2332805   Abengoa Solar, Inc.         11500 West 13th Avenue              Lakewood, CO 80215
2332806   Accron LP         506 Honea Egypt Road             Magnolia, TX 77354
2332808   Acrison Inc        20 Empire Blvd           Moonachie, NJ 07074
2356918   Adam Levitt, Esq.         c/o Grant &Eisenhofer P.A.             30 N. Lasalle Street, Suite 1200        Chicago, IL
          60602
2338240   Adelphia, Inc.       d/b/a Adelphia Sports Bar            c/o J. Timothy DiPiero           604 Virginia Street
          East        Charleston, WV 25301
2332810   Adrienne Grass         324 McKinley Ave            Charleston, WV 25314
2332811   Adrienne Grass         848 Beaumont Rd            Charleston, WV 25314
2353505   Advantage Resourcing America, Inc.            Attn: Kevin Benjamin             220 Norwood Park South           Norwood,
          MA 02062
2332812   Advantage Technical Resourcing            P O Box 4785            Boston, MA 02212−4785
2332813   Air Technologies         PO Box 73278           Cleveland, OH 44193
2332814   Airgas − Mid America           PO Box 532609            Atlanta, GA 30353
2332815   Airland Transport         11100 Calaska Circle           Anchorage, AK 99515−2933
2332817   Akzo Nobel         PO Box 905361            Charlotte, NC 28290−5361
2332818   Al Marino, Inc.        1653 4th Ave          Charelston, WV 25387
2332819   Al Skinner Inc        PO Box 6247           Charleston, WV 25362
2332820   Alaska Traffic Co         PO Box 3837           Seattle, WA 98124−3837
2332821   All Crane &Equipment Rental            6540 MacCorkle Ave SW                St Albans, WV 25177
2332822   All Crane &Equipment Rental Corp             140 West 19th Street            Nitro, WV 25143
2332823   All−Clean Carpet Upholstery           96 Norwood Rd             Nitro, WV 25143
2332824   Allen Kinowski         5330 Bradchar Drive            Cross Lanes, WV 25313
2332826   Allen Pettey        PO Box 136           Hamlin, WV 25523
2332827   Alley−Cassetty Trucking           711 Fesslers Lane          Nashville, TN 37210
2338522   Alley−Cassetty Trucking           P.O. Box 23305           Nashville, TN 37202
2332828   Allied Administrators         Union Bank c/o Allied Admin              PO Box 45381           San Francisco, CA
          94145
2332829   Allpont Transportation LLC           2797 Freeland Road            Hermitage, PA 16148
2332831   Allstate Wrecker Recovery           315 First Street N         St Albans, WV 25177
2332832   Allstate Wrecker Service          315 First Street N         St Albans, WV 25177
2332830   Allstate Wrecker and Recovery LLC             110 Virginia Street          St Albans, WV 25177
2338241   Almost Heaven Burgers, Inc.           d/b/a Checkers Drive−in Restaurant              c/o Neely &Callaghan         159
          Summers Street         Charleston, WV 25301
2356199   Amanda Franklin          c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232           Charleston, WV
          25301
2356217   Amanda Napier          c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232           Charleston, WV
          25301
2332835   American Billiards Company            1023 Washington St            Charleston, WV 25302
2332836   American Cancer Society            1901 Brunswick Avenue             Charlotte, NC 28207
2332841   American Energy Corporation            46226 National Road             St. Clairsville, OH 43950
2338418   Anchorage Waste           3000 Artic Blvd.         Anchorage, AK 99503
2332843   Andrews Boots and Work Wear              2505 MacCorkle Ave              Saint Albans, WV 25177
2332844   Anthony J. Majestro, Esq.          Powell &Majestro PLLC              405 Capital Street, Suite P1200          Charleston, WV
          25301
2332845   Appalachian Chemical Services            415 8th Ave.          St. Albans, WV 25177
2332847   Applied Industrial Tech, Inc.         300 George St., Harper Ind            Beckley, WV 25801−2653
2338242   April Harris       c/o James Humphreys &Associates                10 Hale Street, Suite 400         Charleston, WV
          25301
2338419   Arch Coal        1 City Place Drive, Suite 300           St. Louis, MO 63141
2332849   Archer Daniels Midland           PO Box 300017            Duluth, GA 30096
2356514   Archer Daniels Midland Company              Attn: Sarah Tondello           4666 Faries Parkway          Decatur, IL
          62526
2332850   Arizona Chemical − Vendor            PO Box 54075            Jacksonville, FL 32245
2338243   Armelia Pannell         c/o James Humphreys &Associates               10 Hale Street, Suite 400         Charleston, WV
          25301
2332851   Arrow Concrete          P.O. Box 4336          Parkersburg, WV 26104
2332852   Art Tint       516 Winfield Rd           St Albans, WV 25177
2332854   Artistic Promotions LLC           2306 Charles Ave           Dunbar, WV 25064
2332855   Ashland Specialty Chemicals           PO Box116232             Atlanta, GA 30368−6232
2332858   Aztec Enterprises        PO Box 284           Holden, WV 25625
2332859   B.I.T Construction         1183 Dry Hill Road           Beckley, WV 25801
2340805   BASF Corporation           Annette DePaolo           100 Park Avenue            Florham Park, NJ 07932
2332864   BASF Corporation           PO Box 360941            Pittsburgh, PA 15251−6941
2332866   BBU Services of WV            PO Box 169           Kenna, WV 25248
2332875   BLT Construction LLC            1183 Dry Hill Road           Beckley, WV 25801
2332860   Baker Corp         P O Box 843596           Los Angeles, CA 90084
2347138   BakerCorp         3020 Old Ranch Parkway             Attn: Peter Marrone            Seal Beach, CA 90740
2332861   Baldwin Cooke          PO Box 312           Gloversville, NY 12078
2332862   Banner Life Insurance Company             PO Box 740526            Atlanta, GA 30374−0526
2338244   Bar 101, LLC d/b/a Bar 101           c/o Powell &Majestro PLLC               405 Capitol Street, Suite
          P1200         Charleston, WV 25301
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14    Entered
                                               06/19/14       12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                            Pg 6 of 20
                        Order Mailing: Notice Recipients Page 4 of 14
2332863   Barry Trucking         15036−B Ceres Ave              Fontana, CA 92335
2332865   Batory Foods         1700 Higgins Road             Suite 300        Des Plaines, IL 60018−3800
2332867   Beck &Henry LLC            840 S Cobb Street            Plamer, AK 99645
2332868   Beckman Machine Inc             4684 Paddock Road            Cincinnati, OH 45229
2332869   Beelman Logistics          PO Box 954389             St Louis, MO 63195−4389
2332870   Beijing Hengju USA Ltd.            PO Box 78521            Charlotte, NC 28271
2332871   Benjamin Bailey, Esq.           Bailey &Glasser, LLP            209 Capitol Street        Charleston, WV 25301
2332872   Binder Science        9391 Grogans Mill Rd              Sutie A−1          The Woodlands, TX 77380
2356134   Biomass SyEnergy, LLC              180 West Ave 0           Silsbee, TX 77656
2332873   Biomass SyEnergy, LLC              2102 Fulham Ct.           Houston, TX 77063
2332874   Blackwater, LLC          1083 N Collier Blvd            #182         Marco Island, FL 34145
2332876   Bobcat of Advantage Valley             PO Box 757          St Albans, WV 25177
2332877   Bork Transport of Illionois          Dept 3010          PO Box 87618           Chicago, IL 60680−0618
2332878   Bowles Rice etal         P O Box 1386            Charleston, WV 25325−1386
2332879   Braxton M Cutchin           669 N Academy St             Greenville, SC 29601
2332880   Brechbuhler Scales         Brechbuhler Scales            1424 Scale Street S W          Canton, OH 44706
2332881   Brenntag Mid−South            3796 Reliable Parkway             Chicago, IL 60686−0037
2356218   Brian Martin        c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232           Charleston, WV
          25301
2338245   Brian Vannoy         c/o James Humphreys &Associates                 10 Hale Street, Suite 400        Charleston, WV
          25301
2332882   Brickstreet Insurance Company             PO Box 11285           Charleston, WV 25339
2356454   Brickstreet Mutual Insurance Company              400 Quarrier Street         Charleston,WV. 25301
2332883   Brighthouse Network           PO Box 31335             Tampa, FL 33631−3335
2332885   Browz         13997 S Minuteman Dr              Suite 350         Draper, UT 84020
2332886   Buffalo Ridge Enviromental             116 Atlas Rd         S. Charleston, WV 25303
2332887   Bureau of Child Support           PO Box 247           Charleston, WV 25321
2332888   C.H. Robinson Worldwide Inc              PO Box 9121           Minneapolis, MN 55480−9121
2350279   C.H. Robinson Worldwide, Inc.             14701 Charlson Road             Eden Prairie, MN 55347
2332895   CE Hooton Sales LLC             7521 SW 175 St           Plametto Bay, FL 33157
2332925   CMO Enterprises Inc.           113 Towne Lake Parkway              Suite 120         Woodstock, GA 30188
2332942   CSA Trucking LLC            2049 Falls Creek Rd            Tornado, WV 25202
2332889   Campbell Law Office            1412 Kanawha Boulevard E              Charleston, WV 25301
2338246   Candace Henry Mahood              c/o The Grubb Law Group             1114 Kanawha Blvd., East           Charleston, WV
          25301
2332890   Capital City FOP #74           126 South Highland Avenue              Moundsville, WV 26041
2332891   Capital One        PO Box 70885             Charlotte, NC 28272
2332892   Capital Premium Financing Inc.            PO Box 660899            Dallas, TX 75266−0899
2332893   Carey, Scott, Douglas &Kessler PLLC              901 Chase Tower            707 Virginia Street        Charleston, WV
          25323
2338247   Carl and Kristi Chadband           c/o James Humphreys &Associates               10 Hale Street, Suite 400       Charleston,
          WV 25301
2338248   Carolyn Burdette         c/o Thompson Barney              2030 Kanawha Blvd, East           Charleston, WV 25311
2338249   Carrie Ann Samuels           c/o The Grubb Law Group              1114 Kanawha Blvd., East           Charleston, WV
          25301
2332894   Carson Transport LLC            2406 Lynch Road            Evansville, IN 47711
2356513   Carson's Transport, LLC           c/o Chem Group            2406 Lynch Road           Evansville, IN 47711
2338250   Catering Unlimited Inc.          c/o Freeman &Chiartas            P.O. Box 347          Charleston, WV 25322
2332896   Cemex Construction Materials Pacific, LL              16888 North E Street          Victorville, CA 92394
2332897   Chapman Printing          P O Box 2029            Charleston, WV 25327
2332898   Charles Herzing         124 Lintel Drive           McMurray, PA 15317
2332899   Charles Kincell        702 Benoni Ave             Fairmont, WV 26554
2332900   Charles Webb, Esq.          Webb Law Firm, PLLC                108 1/2 Capital Street       Charleston, WV 25301
2332901   Charleston Department Store             1661 West Washington Street            Charleston, WV 25312
2332902   Charleston Family YMCA               100 YMCA Drive             Charleston, WV 25311
2332903   Charleston Filter Services          P. O. Box 710          Elkview, WV 25071
2332904   Charleston Gazette         1001 Virginia Street East            Charleston, WV
2332905   Charleston Steel        511 28th Street          Dunbar, WV 25064
2332906   Chase Credit Card         P.O. Box 94014            Palatine, IL 60094
2332908   ChemConnect, Inc.          PO Box 51721             Summerville, SC 29485−8049
2332907   Chemac Company            PO Box 8675             South Charleston, WV 25303
2332909   Chemicals and Solvents, Inc            1140 Industry Ave SE           Roanoke, VA 24013
2332910   Chemsearch         P.O. Box 152170             Irving, TX 75015
2332911   Chemsolv, Inc.        PO Box 13847             Roanoke, VA 24037
2332912   Chemstream Inc          166 Commerce Drive              Stoystown, PA 15563
2332913   Chemtrec         PO Box 791383             Baltimore, MD 21279−1383
2332914   Christina M Smith         1490 Quick Rd             Elkview, WV 25071
2338251   Christopher &Tiana Allen            on behalf of their Minor Children          Hare, Wynn, Newell &Newton
          LLP         2025 Third Avenue North, Suite 800              Birmingham, AL 35203
2332916   Ciba Specialty Chemicals/ BASF             PO Box 360941             Pittsburgh, PA 15251−6941
2332917   Cintas        PO Box 630910             Cincinnati, OH 45263−0910
2332918   City of Charleston        Traffic Clerk          P O Box 2749            Charleston, WV 25330−2749
2348712   City of Cincinnati        801 Plum Street, Suite 214            Cincinnati, OH 45202
2338252   City of Nitro       2009 20th Street          Nitro, WV 25143
2332919   CityLarm         1207 Quarrier St, Gar.B            Charleston, WV 25301
2332920   Clariant Corporation         Dept 2203           Carol Stream, IL 60312−2203
2332921   Clark Filter Systems, Inc.         PO Box 215           Gallipolis, OH 45631
2332922   Clay Whaley         3 Maple Leaf Lane             Charleston, WV 25314
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14    Entered
                                               06/19/14       12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                            Pg 7 of 20
                        Order Mailing: Notice Recipients Page 5 of 14
2332923   Clean Air Technologies           2727 Plantation Road           Roanoke, VA 24012
2338422   Clean Harbors Environmental Services              P.O. Box 9149         42 Longwater Drive          Norwell, MA
          02061
2332924   Clean Way Septic Tank Service            PO box 20391           Charleston, WV 25362
2332926   Coal Preparation Society of America            PO Box 309          Blacksburg, VA 24063−9998
2332927   Colonial Chemical Solutions, Inc.           PO Box 576          Savannah, GA 31402−0576
2332928   Colonial Life        P.O Box 903           Columbia, SC 29202−0903
2338253   Colors Salon and Boutique, LLC             c/o Thompson Barney            2030 Kanawha Blvd, East          Charleston, WV
          25311
2356133   Commonwealth of Virginia Department of Taxation                PO Box 2156           Richmond, VA 23218
2332929   Con−Way Freight Inc            PO Box 5160           Portland, OR 97208−5160
2332930   Connection Chemical            126 South State Street         Newton, PA 08940
2338254   Conrad F. Krasyk, II and Megan Krasyk              c/o James Humphreys &Associates            10 Hale Street, Suite
          400        Charleston, WV 25301
2338424   Consol Energy, Inc.          1000 Consol Energy Drive            Canonsburg, PA 15317
2332932   Consolidated Recycling Co., Inc.           2406 Lynch Road           Evansville, IN 47711
2332933   Continental Pump Co Inc.           29425 State Hwy B            Warrenton, MO 63383
2338255   Cornellisus Christian         1446 Stuart Street         Charleston, WV 25387
2332934   Corporation Service Company             PO Box 13397           Philadelphia, PA 19101−3397
2332935   Corwn Products &Services, LLC              831 Frank Street         Sheridan, WY 82801
2338256   Courtney Harper          c/o James Humphreys &Associates              10 Hale Street, Suite 400        Charleston, WV
          25301
2332936   Coventry Health &Life            PO Box 6529           Carol Stream, IL 60197−6529
2356371   Cracker Barrel Old Country Store, Inc.           307 Hartmann Drive           Attention: Elizabeth (Suzy)
          Wilson        Lebanon, TN 37087
2332937   Crescent Inks         149 Bryant Road           Inman, SC 29349
2332938   Crosier's Sanitary Service         PO Box 250           Lansing, WV 25862
2332939   Cross Lanes Acoustics           508 Goff Mountain Rd            Cross Lanes, WV 25313
2332940   Cross Pump and Equipment Company                 PO Box 889          Charleston, WV 25323
2332941   Crown Products &Services             12821 E New Market Street            Suite 310       Carmel, IN 46032
2338425   Crown Products &Services LLC              3107 Halls Mill Road           Mobile, AL 36606
2338269   Crystal Good         c/o Thompson Barney             2030 Kanawha Blvd, East           Charleston, WV 25311
2332943   Custom Weather Inc.           230 California Street         Suite 240        San Francisco, CA 94111
2332944   D Allen LaDriere          7130 Rocky Fork Rd             Charleston, WV 25312
2332945   D Car LLC          c/o Chem Group            2406 Lynch Rd           Evansville, IN 47711
2351203   DCAR, LLC            c/o Chem Group            2406 Lynch Road           Evansville, IN 47711
2332955   DCar, LLC          2406 Lynch Road            Evansville, IN 47711
2332946   Dan A. Permenter, P. E.           PO Box 1541           Roanoke, VA 24007
2338270   Daniel Cleve Stewart          c/o The Sutter Law Firm           1598 Kanawha Blvd, East           Charleston, WV
          25311
2332947   Daniel L. Grubb, Esq.          The Grubb Law Group             1114 Kanawha Blvd., East           Charleston, WV
          25301
2356219   Danielle Knight         c/o William V. DePaulo, Esq.            179 Summers Street, Suite 232         Charleston, WV
          25301
2332948   Daniels Electric Inc         PO Box 3426           Charelston, WV 25334
2332949   Danny Songer           Pfaff &Smith          1107 Bullit Street        Charleston, WV 25301
2332950   Darren Casto         RT 1 Box 38 A            Liberty, WV 25124
2332951   David Smith Frame and Body             7018 MacCorkle Ave             St Albans, WV 25177
2332952   Davidson &Sons LTD              1220−1188 West Georgia Street            Vancouver, BC V6E4A2
2332957   Delaware Secretary of State           Division of Corporations         PO Box 5509          Binghamton, NY
          13902−5509
2332959   Dell Preferred Account           Payment Processing Center           PO Box 6403          Carol Stream, IL
          60197−6403
2332960   Dennis Conway           5249 Big Tyler Rd           Cross Lanes, WV 25313
2332961   Dennis Conway           5249 Big Tyler Rd           Cross Lanes, WV 25313
2338271   Dennis Farrell         1344 Poca River Road N            Charleston, WV 25323
2338428   Dennis Farrell         P.O. Box 713          Charleston, WV 25323
2332964   Department of Motor Vehicles            Building 3         1800 Kanawha Blvd E           Charleston, WV
          25317−0002
2338272   Diana Johnson          c/o James Humphreys &Associates              10 Hale Street, Suite 400        Charleston, WV
          25301
2332965   Diversified Services LLC           110 Virginia Street         St Albans, WV 25177
2332966   Division of Water an          Division of Water and Waste Mg             PO Box 364         Charleston, WV 25322
2332969   Double C Inc         Dale Redman            Cross Lanes, WV 25313
2338430   Doug Simmons            14027 Moore Road             Marion, IL 62959
2332973   Drug Testing Centers of America            100 Lee Street W          Charleston, WV 25302
2338431   Duke Energy Indiana, Inc.           P.O. Box 1326          Charlotte, NC 28201
2332975   E−Tank Ltd          4113 Millennium Blvd SE              Massillon, OH 44646
2332979   ECD         c/o Gilson Engeneering Sales            400 Allen Drive Ste 401         Charleston, WV 25302
2338273   EGKInc.         c/o John Kennedy Bailey Law              P.O. Box 2505          Charleston, WV 25329
2338274   EJKEnterprises LLC            c/o Johnathan Mani, Esq.          602 Virginia Street, East, Suite 200       Charleston, WV
          25325
2332976   Eagle Research          4237 State Rt 34          Hurricane, WV 25526
2332977   East Coast Tees         205 C Street         South Charleston, WV 25303
2332978   Eastman Chemical Co             Financial Corporation         PO Box 8500−55157            Philadelphia, PA
          19178−5157
2332980   Eckert Seamans Cherin &Mellott LLC               PO Box 643187           Pittsburgh, PA 15264−3187
2332982   Edward Lilly         PO Box 717           Beaver, WV 25813
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14    Entered
                                               06/19/14       12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                            Pg 8 of 20
                        Order Mailing: Notice Recipients Page 6 of 14
2332983   Electro−Quip Manufacturing Corporation              PO Box 1208           Beckley, WV 25801
2332984   Elite Environmental Services, Inc.         PO Box 6405             Evansville, IN 47719
2338275   Elizabeth Grubb         c/o The Grubb Law Group              1114 Kanawha Blvd., East           Charleston, WV
          25301
2332985   EnergyTech          910 54th Ave         Suite 230          Greeley, CO 80634
2332986   Engel Welding Inc          PO Box 307           St Albans, WV 25177
2332987   Enstar Natural Gas Co          PO Box 34760            Seattle, WA 98124−1760
2340802   Enstar Natural Gas Company            PO Box 190288             Anchorage, AK 99519−0288
2332988   Enterprise Transportation Company            PO Box 972863             Dallas, TX 75397−2863
2332991   EnviroTank Clean Inc          12381 State Rt 7 Unit A            Belpre, OH 45714
2332989   Environmental Operating Solutions, Inc.            160 MacArthur Blvd            Suite 6       Bourne, MA 02532
2345015   Environmental Operating Solutions, Inc.            Attn: Christopher Dube          P.O. Box 326         Manchester, NH
          03105−03246
2332990   Environmental Quality Management Inc               PO Box 643043            Cincinnati, OH 45264−3043
2338276   Environmine, Inc.         P.O. Box 11716           Charleston, WV 25329
2332992   Envirotech Services         P O Box 5512            Denver, CO 80217
2338277   Eric Booth        c/o Freeman &Chiartas            P.O. Box 347           Charleston, WV 25322
2332994   Escreen Inc.        PO Box 123143            Dept 3143          Dallas, TX 75312−3143
2332996   Estes Express Lines         PO Box 25612            Richmond, VA 23260−5612
2332998   Everchem Fluids, LLC           Rose Tree Corporate Center             1400 N. Providence Rd. Suite 3        Media, PA
          19063
2332999   Evergreen Resources          2567 Congo Arroyo Rd              Newell, WV 26050
2333000   Evergreen Tank Solutions          Evergreen Tank Solutions             PO Box 740600           Dallas, TX 75284
2338435   Excel Mining, LLC           4126 State Highway 194 W              Pikeville, KY 41501
2333002   Executive Storage         102 Executive Blvd.           Vincennes, IN 47591
2333003   Express Services Inc         PO Box 535434            Atlanta, GA 30353−5434
2333004   F L Tanks         600 Greene Street         Marietta, OH 45750
2333005   F. Jerome Tapley, Esq.         Cory Watson Crowder &DeGaris, P.C.                2131 Magnolia Avenue           Birmingham,
          AL 35205
2333010   FCI Technology          P.O. Box 405490            Atlanta, GA 30384−5490
2333006   Fabtech, LLC         PO Box 764           Prosperity, WV 25909−0764
2333007   Falcon Industries        9164 Halston Circle           Newburgh, IN 47630
2350329   Fastenal Company          2001 Theurer Blvd.            Winona, MN 55987
2333008   Fastenal Company          Fastenal Company             P O Box 1286           Winona, MN 55987
2333009   Fastsigns        5137 MacCorkle Ave SW               South Charleston, WV 25309
2333011   Fed Ex Truckload Brokerage           PO Box 223758              Pittsburgh, PA 15251−2758
2338689   FedEx Tech Connect Inc as Assignee              of FedEx Express/Ground/Freight/Office            3965 Airways Blvd,
          Module G, 3rd Floor          Memphis, Tennessee 38116
2333014   FedEx Truckload Brokerage            PO Box 223758             Pittsburgh, PA 15251−2758
2333012   Federal Express Corp          P O Box 371461            Pittsburgh, PA 15250−7461
2333013   Fedex Freight        PO box 223125            Pittsburgh, PA 15250−2125
2333015   Ferguson Enterprises Inc         PO Box 644054             Pittsburgh, PA 15264
2333017   Fibernet        1200 Greenbrier Street          Charleston, WV 25311
2333016   Fibernet        PO Box 11171           Charleston, WV 25339
2333019   First Bank of Charleston         201 Pennsylvania Avenue              Charleston, WV 25302
2333018   First Bank of Charleston         P O Box 6907           Charleston, WV 25364
2333020   FloMin Coal Inc.         PO Box 405655            Atlanta, GA 30384−5655
2333021   Flynn Metering Sysytems           4115 Tonya Trail           Hamilton, OH 45011
2333022   Foodland         10 Spring Street        Charleston, WV 25302
2333023   Ford Credit        PO Box 790093            St. Louis, MO 63179−0093
2338436   Foresight Energy LLC           One Metropolitan Square             211 North Broadway, Suite 2600          St. Louis, MO
          63102
2333025   Franco Air LLC          517 Nicholas Street SE           Abindgon, VA 24210
2333026   Fred Pryor Seminars          PO Box 219468            Kansas City, MO 64121−9468
2333028   Freedom Industries, Inc.        PO Box 713            Charleston, WV 25323
2338437   Freedom West, LLC            3216 South Fair Lane           Tempe, AZ 85282
2333030   G. Patrick Jacobs, Esq.        Law Offices of G. Patrick Jacobs            7020 MacCorkle Avenue, S.E.           Charleston,
          WV 25304
2333052   GVM          P O Box 358          Biglerville, PA 17307
2333032   Gary Southern         PO Box 541124             Cincinnati, OH 45254−1124
2333033   Gases Plus         PO Box 789          Gillette, WY 82717−0789
2333034   General Chemical          PO Box 533195            Charlotte, NC 28290−3195
2333035   General Technologies          PO Box 8247            South Charleston, WV 25303
2333036   Geo Specialty Chemicals          PO Box 123171             Dept 3171          Dallas, TX 75312−3171
2333037   Georgia−Pacific Chemicals, LLC            PO Box 102319              68 Annex         Atlanta, GA 30368
2333038   Gilco        535 Rochester Road          Pittsburgh, PA 15237
2333039   Gilco        c/o Gilson Engeneering Sales           400 Allen Drive Ste 401           Charleston, WV 25302
2333040   Gimme Marketing Inc.           PO Box 459            Lawerence, PA 15055
2333041   Global Down Syndrome Foundation               3300 E First Ave           Suite 390       Denver, CO 80206
2333042   Global Experience Specialists Inc          7050 Lindell Road            Las Vegas, NV 89118−4702
2333043   Goldfarb Electric        P O Box 3319            Charleston, WV 25333
2333044   Goodwill Industries of Kanawha Valley I             215 Virginia Street W          Charelston, WV 25302
2333045   Grainger        Dept 120 − 846225738             Palatine, IL 60038
2338278   Graziano Investments, Inc.         c/o Freeman &Chiartas             P.O. Box 347         Charleston, WV 25322
2333046   Great Lakes Chloride, Inc.         895 E 200N           Warsaw, IN 46582
2333047   Great Lakes Environmental Center Inc             739 Hastings Street          Traverse City, MI 49686
2333048   Green Industrial Soluctions LLC          301 West Texas Avenue               Ruston, LA 71270
2333049   Green Planet Industrial LLC          811 Spring Street           Suite 126        Paso Robles, CA 93446
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14    Entered
                                               06/19/14       12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                            Pg 9 of 20
                        Order Mailing: Notice Recipients Page 7 of 14
2333050   Green_s Feed &Seed              314 Piedmont Rd           Charleston, WV 25301
2333051   Gresham Plumbing             625 Maryland Ave             Charelston, WV 25302
2338279   Grumpy's Grille, LLC             c/o Bailey &Glasser LLP           209 Capitol Street        Charleston, WV 25301
2333060   HD Supply Waterworks               PO Box 91036           Chicago, IL 60693−1036
2333053   Hach Company            2207 Collections Center Drive             Chicago, IL 60693
2338280   Hair We Are, Inc.          c/o Ranson Law Offices PLLC               1562 Kanawha Blvd, East           P.O. Box
          3589        Charleston, WV 25336
2338281   Hargis Unlimited LLC              d/b/a Kanawha City Coin Laundry             c/o Neely &Callaghan         159 Summers
          Street       Charleston, WV 25301
2333056   Harris Brothers         1533 Hansford Street            Charleston, WV 25311
2333057   Harry Bell, Jr., Esq.         The Bell Law Firm PLLC              P.O. Box 1723         Charleston, WV 25326
2341428   Hartford Fire Insurance Company               Bankruptcy Unit, T−1−55            Hartford Plaza       Hartford, CT
          06115
2333058   Hartland Distillations, Inc.          PO Box 5673           Evansville, IN 47716
2333062   Henwil Corporation            PO Box 466           Beaver, PA 15009
2333063   Herman &Cormany               8 Capitol Street         Suite 600         Charleston, WV 25301
2333064   Herman S Kitchen            3236 Horseshoe Creek Rd              Victor, WV 25938
2333065   Highland Hospital          300−56th Street SE            PO Box 4107           Charleston, WV 25364−4107
2333066   Highland Tank           PO Box 827973             Philadelphia, PA 19182−7973
2333067   Hilcorp Energy Company               P.O. Box 61229          Houston, TX 77208−1229
2338440   Hilcorp Energy Company               P.O. Box 61229          Houston, TX 77208−1229
2333068   Home Depot           100 Cross Terrace Blvd             Charleston, WV 25309
2333069   Honey Baked Ham             2834 Mountaineer Blvd              Charleston, WV 25309
2333070   Hood Container Corporation               62755 Collection Center Drive          Chicago, IL 60693−0627
2338441   Hoosier Energy REC, Inc.             P.O. Box 908          Bloomington, IN 47402
2333072   Hooten Equipment Co.              961 Virginia Street West          Charleston, WV 25302−1821
2333073   Hot Shot Express LLC              PO box 2003          Saint Albans, WV 25177
2333074   Hot Shotz Inc          3525 E Mulberry Street            Ft Collins, CO 80524
2333075   Hotsy Equipment Company                2045 Wilson Street          Dunbar, WV 25064
2333076   Hughes Tank Company                2900 N FM 157           Venus, TX 76084
2333077   Huntington District Water Ways              P.O. Box 249          Ashland, KY 41105
2333078   Hybridge Communications Mgt Group                  1116 Smith Street         Charleston, WV 25301−1314
2333079   IMR Metallurgical Services             4102 Bishop Lane           Louisville, KY 40218
2333089   ISNetworld          PO Box 841808              Dallas, TX 75284−1808
2333090   IWL Inc.         1083 N Collier Blvd            #182         Marco Isalnd, FL 34145
2333080   Independent Ag Equipment               PO Box 358           Biglerville, PA 17307
2338443   Indianapolis Power &Light Company                One Monument Place             P.O. Box 1595         Indianapolis, IN
          46206
2333082   Indigo Astoria LLC            100 Edgecrest Drive           Verona, PA 15147
2333083   Industrial Maintenance Services             8579 Buchannon Rd             Volga, WV 26238
2333084   Industrial Process Equipment Group              2800 Locust Street          St Louis, MO 63103
2333085   Industrial Systems, Ltd.           112 West Route 120           Lakemoor, IL 60051
2333086   Innovative Chemical Group LLC                PO Box 41378           Sacramento, CA 95841
2333087   Innovative Chemical Group, LLC                P.O. Box 41378          Sacramento, CA 95841
2333088   Internal Revenue Service            Cincinnati, OH 45999
2334562   Internal Revenue Service            P.O. Box 7346           Philadelphia, PA 19101−7346
2338444   Internal Revenue Service            Philadelphia, PA 19106
2338445   International WoodFuels, LLC               600 West Broadway            San Diego, CA 92101
2333092   J &J Sign and Crane            934C Wills Creek Rod            Elkview, WV 25177
2333093   J J Keller &Associates           PO Box 548           Neenah, WI 54957−0548
2333091   J and B Blending          Nichol Ave            M.R.I.E. Bld 163 / 164          McKees Rocks, PA 15136
2333094   J. Michael Ranson, Esq.            Ranson Law Office PLLC              1562 Kanawha Blvd. East          P.O. Box
          3589        Charleston, WV 25336
2333095   J. R.'s Frame and Body Shop              8101 Maccorkle Ave           Charleston, WV 25315
2333096   J. Timothy DiPiero, Esq.            DiTrapano, Barrett, DiPiero, McGinley            604 Virginia Street
          East        Charleston, WV 25301
2338282   J.E. and K.E. on behalf of their Minors            c/o The Sutter Law Firm          1598 Kanawha Blvd,
          East        Charleston, WV 25311
2333097   JABO Supply Corp             P O Box 238           Huntington, WV 25707
2333098   Jack Donenfeld          119 East Court Street           Cincinnati, OH 45202−1203
2333101   Jackson Family Fund             c/o Clay County Bank           PO Box 239          Clay, WV 25043
2333103   Jacobson Transportation Compnay Inc.               PO Box 224            Des Moines, IA 50306
2333104   James C. Peterson, Esq.            Hill, Peterson, Carper, Bee &Deitzler          500 Tracy Way          Charleston, WV
          25311
2338446   James Chill         2503 Highland Avenue              New Castle, PA 16105
2356223   James Peyton          c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232          Charleston, WV
          25301
2338283   James and Tammy Parsons               c/o James Humphreys &Associates              10 Hale Street, Suite 400       Charleston,
          WV 25301
2338284   Janet Atkins         c/o James Humphreys &Associates                10 Hale Street, Suite 400       Charleston, WV
          25301
2334099   Janet L. Thompson            1326 Elmwood Avenue              Charleston, WV 25301
2333109   Janet Lee         303 Oak Hill Ridge Road             Bomont, WV 25030
2333110   Jarrold S. Parker, Esq.          Parker Waichman LLP             3301 Bonita Beach Road           Bonita Springs, FL
          34134
2356224   Jason Cooper          c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232          Charleston, WV
          25301
2333113   Jeff Hudnall         3303 1/2 4th Ave W             Belle, WV 25015
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14
                                               06/19/14Entered 12/16/14
                                                          Entered       16:56:41
                                                                   06/19/14        Exhibit
                                                                            15:16:08  Desc 9
                                           Pg  10 of 20
                        Order Mailing: Notice Recipients Page 8 of 14
2333114   Jim Green         PO Box 451           Nitro, WV 00025−3143
2333115   Joe Beard &Sons          5766 Prospect Drive            Newburgh, IN 47630
2338285   Joe Fazio's Restaurant, Inc.         c/o Ronson Law Offices, PLLC              1562 Kanawha Blvd East          P.O. Box
          3489        Charleston, WV 25336
2333117   John E. Sutter, Esq.        The Sutter Law Firm, PLLC              1598 Kanawha Blvd. East           Charleston, WV
          25311
2333118   John Kennedy Bailey, Esq.           John Kennedy Bailey Law              P.O. Box 2505          Charleston, WV 25329
2338287   John Nelson         c/o Wood Law Office, L.C.             1118 Kanawha Blvd, East            Charleston, WV 25323
2338286   John and Louisa Levin           c/o Robert Peirce &Associates PC             2500 Gulf Towers         Pittsburgh, PA
          15219
2333122   John's Lock &Key Se            114 McFarland Street           Charleston, WV 25301
2338288   Johnette Jasper        c/o James Humphreys &Associates                10 Hale Street, Suite 400       Charleston, WV
          25301
2333123   Johnson Service Group Staffing Services              4485 Paysphere Circle         Chicago, IL 60674−4485
2338289   Jon and Andrea Lupson            c/o Hare, Wynn, Newell &Newton LLP                2025 Third Avenue North, Suite
          800        Birmingham, AL 35203
2333124   Jonathan Mani, Esq.          Mani Ellis &Layne, PLLC              602 Virginia Street East        Charleston, WV
          25325
2333125   Jonell Oil Corporation          13649 Live Oak Lane            Irwindale, CA 91706−1317
2338290   Joseph &Margaret Sue Zalenski              c/o James Humphreys &Associates             10 Hale Street, Suite
          400        Charleston, WV 25301
2333127   K R Komarek Inc.           548 Clayton Court            Wood Dale, IL 60191
2333131   KAO Specialties Americas, LLC               PO Box 602302           Charlotte, NC 28260−2302
2333144   KMX Chemical            PO Box 280            New Church, VA 23415
2333128   Kanawha County Sheriff's Office             Tax Division          409 Virginia St E, Room 120          Charleston, WV
          25301−2595
2338291   Kanawha Gourmet Sandwiches, LLC                  c/o The Bell Law Firm PLLC            P.O. Box 1723         Charleston, WV
          25326
2333130   Kanawha Valley Horsmen's Assoc.               PO Box 6445           Charleston, WV 25362
2338292   Katherine Grubb          c/o The Grubb Law Group              1114 Kanawha Blvd., East           Charleston, WV
          25301
2338293   Kathryn Casto         c/o James Humphreys &Associates                10 Hale Street, Suite 400        Charleston, WV
          25301
2333132   Kathy A. Brown, Esq.            Kathy Brown Law, PLLC              P.O. Box 631         Charleston, WV 25322
2338294   Keith and Lisa Roehl          c/o James Humphreys &Associates               10 Hale Street, Suite 400        Charleston, WV
          25301
2338295   Kelli Oldham         c/o The Grubb Law Group               1114 Kanawha Blvd., East           Charleston, WV 25301
2333133   Kemira Chemicals, Inc.           PO Box 105046            Atlanta, GA 30348−5046
2338448   Kenamerican Resources, Inc.            7590 Kentucky 181            Central City, KY 42330
2333136   Kenny Smith Timber Company                PO Box 417           Phelps, KY 41553
2333137   Kentucky Employers Mutal Insurace               250 West Main Street          Suite 900        Lexington, KY 40507
2333138   Kentucky State Treasurer           Station Number 21           PO Box 1274           Frankfort, KY 40602−1274
2333139   Kevin Lucas Trucking Inc.           12276 Hardinburg Road              Vertrees, KY 42724
2338450   Kevin Skiles        313 Carriage Lane             Troutville, VA 24175
2338296   Kevin and Martha Stubblefield            c/o James Humphreys &Associates              10 Hale Street, Suite
          400        Charleston, WV 25301
2338297   Kimberly Lapsley          c/o James Humphreys &Associates                10 Hale Street, Suite 400       Charleston, WV
          25301
2333142   Klaus Meter &Pump             PO Box 678            Dunbar, WV 25064
2333143   Kmart        1701 4th Ave W             Charleston, WV 25312
2333145   Kols Containers Inc          PO box 1690            Attn Accounting Dept          Union, NJ 07083
2333146   Kuhnle Brothers Inc.          PO Box 375            Newsbury, OH 44065
2338298   Kuppel LLC d/b/a Dream Tank               d/b/a Capital Dome Bar &Grill           c/o Tabor Lindsay &Associates          P.O.
          Box 1269         Charleston, WV 25325
2333148   L &T Inc.         PO Box 2845            10655 Hwy 59           Gillette, WY 82717−2845
2333149   L T Harnett Trucking           7431 State Rt 7          Kinsman, OH 44428
2338454   LNT Inc.         PO Box 2845            10655 Hwy 59           Gillette, WY 82717−2845
2333165   LNT Solutions          4109 Bridgeport Drive            Jordan Station LOR ISO, Canada
2333150   Ladmore Associates Inc.           7130 Rocky Fork Road             Charleston, WV 25312
2333151   Landstar Ranger Inc          PO Box 8500−54293              Philadelphia, PA 19178−4293
2338299   Latausha Taylor         c/o James Humphreys &Associates                10 Hale Street, Suite 400        Charleston, WV
          25301
2338300   Laura Gandee          c/o Kathy Brown Law PLLC                P.O. Box 631         Charleston, WV 25322
2333153   Law Offices of Jack A. Donefeld             119 East Court Street         Cincinnati, OH 45202−1203
2333154   Lawson Products          P.O. Box 809401             Chicago, IL 60680−9401
2333155   Legacy Contracting LLC            123 Lillybrook Lane            PO Box 518          Cyclone, WV 24827
2338301   Lenox Chandler          c/o James Humphreys &Associates                10 Hale Street, Suite 400       Charleston, WV
          25301
2333156   Lexington Center Corporation            430 W Vine Street           Lexington, KY 40507
2333157   Liberty Mutual Insurance Company               Surety Direct Bill        PO Box 11223           Tacoma, WA
          98411−0223
2333158   Liberty Tank Lines          PO Box 3621            Charelston, WV 25336
2333159   LifeTite Metal Products          PO Box 127            Kenna, WV 25248
2333160   Ligno Tech USA Inc            PO Box 3019            Carol Stream, IL 60132−3012
2333161   Lincoln Files        Robert Lincoln Files           310 Delaware Apt A           Charleston, WV 25302
2333163   Linder Oil Company Inc            820 Industrial Parkway           Ossian, IN 46777
2333164   Liquid Transport LLC            3254 Solutions Center           Chicago, IL 60677−3002
2333167   Lowes         1000 Nitro Marketplace             Cross Lanes, WV 25313
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1 FiledFiled
                                          12/16/14
                                               06/19/14Entered 12/16/14
                                                          Entered       16:56:41
                                                                   06/19/14        Exhibit
                                                                            15:16:08  Desc 9
                                           Pg  11 of 20
                        Order Mailing: Notice Recipients Page 9 of 14
2333166   Lowes        5750 MacCorkle Ave SE              Charleston, WV 25304
2333168   Lubrizol Advanced Materials (Noveon)             PO Box 643050             Pittsburgh, PA 15264
2333169   Lumos Networks           PO Box 11171           Charleston, WV 25339−1171
2333170   M H Equipment          4469 Solutions Center            # 774469          Chicago, IL 60677
2333171   M H Industries, Inc.        29425 Chagrin Blvd.            Suite 300         Pepper Pike, OH 44122
2333172   M W Kryzak &Sons In            17 Keystone Drive            Charleston, WV 25311
2333187   MCRL         801 East 4th Street          Suite 11         Gillette, WY 82716
2353500   MH Equipment Co           P.O. Box 50           Mossville, IL 61552
2333197   MIDWEST AGRI−COMMODITIES COMPANY                             999 Fifth Ave          Suite 500        San Rafael, CA
          94901
2333205   MJ Communications            135 Cartier Ct         Roswell, GA 30076
2333215   MTech LLC           PO Box 7855           Cross Lanes, WV 25356
2333173   Mabscott Supply Company             P O Box 1560           Beckley, WV 25802
2338302   Maddie Fields        c/o Ciccarella, DelGiudice &LaFon               1219 Virginia Street, East, Suite 100       Charleston,
          WV 25301
2333174   Madington Enterprises LLC            PO Box 4283           Gillette, WY 82717−4283
2356623   Marc P. Henry         Henry & Fuller          2175 North Street           Beaumont, TX 77701
2333175   Marcum Material Handling            Rt 3, Box 2097          Wayne, WV 25570
2333176   Margie Dolin Trucking, Inc          P O Box 417           Institute, WV 25112
2333177   Margie Trucking Co. Inc.          106 Monterey Lane            Cross Lanes, WV 25313
2338304   Mark Strickland        c/o The Sutter Law Firm            1598 Kanawha Blvd, East             Charleston, WV 25311
2338303   Mark and Heidi Stricklen          c/o James Humphreys &Associates               10 Hale Street, Suite 400       Charleston,
          WV 25301
2338305   Marlene Dial        c/o James Humphreys &Associates                10 Hale Street, Suite 400        Charleston, WV
          25301
2333180   Mary Ann's Flower Shop           925 Hickory Rd            St Mary's, PA 15857
2333184   McGrew PS/LT Tire Co., Inc             607 Virginia Street, West          Charleston, WV 25302
2333185   McJunkin Redman           PO Box 640300            Pittsburgh, PA 15264
2333186   McKees Rocks Industrial Enterprises            149 Nichol Ave − Main office            McKees Rocks, PA 15136
2333188   McTron Technologies           5210 Hovis Road            Charlotte, NC 28208
2333190   MeadWestvaco Corporation             2028 Collections Drive           Chicago, IL 60696
2339011   MeadWestvaco Corporation             Attn: Richard Caputo            501 South 5th Street        Richmond, VA
          23219
2333189   Meadow Dream Farm             359 Meadow Dream Lane                Nitro, WV 25143
2338306   Megan Spears         c/o Neely &Callaghan            159 Summers Street            Charleston, WV 25301
2338307   Melanie Martin        c/o Neely &Callaghan             159 Summers Street            Charleston, WV 25301
2338308   Melissa Jean Medley          c/o The Sutter Law Firm            1598 Kanawha Blvd, East           Charleston, WV
          25311
2333191   Messer Industries LLC          P.O. Box 15073           Marmet, WV 25315
2333192   Michael E. Burdette         937 Midway Drive            Dunbar, WV 25064
2338309   Michael Fink and Pamela Hagerman              d/b/a Thelma Fay's Cafe            Meyer, Ford &Glasser         P.O. Box
          11090       Charleston, WV 25339
2333193   Michael J. DelGiudice, Esq.          Timothy J. LaFon, Esq.            1219 Virginia Street, East       Suite
          100       Charleston, WV 25301
2338310   Michael Maypenny           c/o Thompson Barney             2030 Kanawha Blvd, East             Charleston, WV 25311
2333198   Midwest Industrial Supply          PO box 75545            Cleveland, OH 44101−4755
2333199   Miller Transporters Inc        PO Box 1123            Jackson, MS 39215−1123
2333200   Milwaukee Electric Tool Corp.           4844 Collection Center Drive             Chicago, IL 60693
2333201   Mineral Labs, Inc.        Box 549          Salyersville, KY 41465
2333202   Mineral Seperation Services          1907 Shadowlake Road              Blacksburg, VA 24060
2333203   Mining Electrical Services         6 MES Drive           Gillette, WY 82716
2333204   MinuteMan Press          182 Summers Street            Charleston, WV 25301
2333206   Mobile Medical Corporation            2413 Lytle Road           Bethel Park, PA 15102
2333207   Monogram Plus          4006 40th Street          Nitro, WV 25143
2333208   Montgomery−Rinehardt Corp              2435 Plantation Center Drive            Suite 210        Matthews, NC 28105
2333210   Moses Ford         2001 MacCorkle Avenue              Saint Albans, WV 25177
2333211   Motion Industries        PO Box 404130            Atlanta, GA 30384−4130
2333212   Mountaineer Gas Company             PO Box 5656            Charleston, WV 25361
2333213   Mountaineer Seatback          364 Patteson Drive #304            Morgantown, WV 26505
2333214   Mountaineer Wholesal           Mountaineer Wholesale             P O Box 286          Charleston, WV 25321
2338311   Mousie's Car Wash          Georgia Hamra and John Sarver               c/o Thompson Barney          2030 Kanawha Blvd,
          East       Charleston, WV 25311
2333216   Mullen Plumbing Heating and Cooling             105 A Street           PO Box 8591          South Charleston, WV
          25303
2333228   NWTAZ LLC            PO Box 288            Gallipolis, OH 45631
2333217   Napa Auto Parts         614 Virginia Street         Charleston, WV 25302
2333218   National Co−Products, LLC            1611 Distribution Drive            Burlington, KY 41051
2333219   National Mining Association           Dept 20−1091           PO Box 5940            Carol Stream, IL 60197
2333220   Necessary Oil Company Inc            1300 Georgia Ave            Bristol, TN 37620
2333221   Neo Solutions        PO Box 361           Beaver, PA 15009−0026
2333222   Neptune Chemical Pump Co              24308 Network Place            Chicago, IL 60673−1243
2333223   New Horizons CLC of Charleston, WV               244 Greystone Blvd            Columbia, SC 29210
2338312   Newteck Systems, Inc.          c/o Hare, Wynn, Newell &Newton LLP                 2025 Third Avenue North, Suite
          800       Birmingham, AL 35203
2356225   Nicole Holmes         c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232           Charleston, WV
          25301
2338313   Nitro Car Care Center, LLC           c/o Thompson Barney             2030 Kanawha Blvd, East           Charleston, WV
          25311
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1FiledFiled
                                         12/16/14
                                              06/19/14Entered 12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                          Pg  12 of 20
                       Order Mailing: Notice Recipients Page 10 of 14
2338314   Noel Hardman            c/o James Humphreys &Associates               10 Hale Street, Suite 400       Charleston, WV
          25301
2333224   Norandex          300 Executive Parkway West               Suite 100        Hudson, OH 44236
2333226   Northstar Bioscience, LLC            2514 Boston Post Road            Suite 10−C          Guildford, CT 06437
2333227   Nova Rubber Company               PO Box 8580           South Charleston, WV 25303
2333229   Occidental Chemical Corporation             PO Box 406422             Atlanta, GA 30384−6422
2333230   Occupational Health Centers of SW PA               PO Box 9010           Broomfield, CO 80021−9010
2334611   Office Depot          6600 N. Military Trail − S413G             Boca Raton, FL 33496
2333231   Office Depot          PO Box 88040           Chicago, IL 60680−1040
2333232   Office Max          228 R.L.H. Blvd.          Charleston, WV 25309
2333233   Ohio Dept of Taxation            4485 Northland Ridge Avenue              Columbus, OH 43229
2338456   Ohio Valley Coal Company              56854 Pleasant Ridge Road             Alledonia, OH 43902
2338457   OhioAmerican Energy Incorporated               34 Kelly Way           Brilliant, OH 43913
2333236   Oil Associates Inc          3201 E 66th Street          Cleveland, OH 44127
2333237   Old Dominion Freight Line Inc             14933 Collection Center Dr            Chicago, IL 60693−4933
2333238   Omega Engineering, Inc.             PO Box 405369            Atlanta, GA 30384−5369
2333239   OneSource Water            PO Box 123           Greensburg, IN 47240
2333240   Orkin        11 Craddock Way              Poca, WV 25159
2333241   Orlando Brown            Belmont Ridge Apartments              3400 Daniel Lane, Apt. 206          Monroeville, PA
          15146
2333242   Orr Safety         1266 Reliable Parkway            Chicago, IL 60686
2333243   Oxyde Chemicals, Inc.            225 Pennbright Drive           Suite 101         Houston, TX 77090
2333244   P &B Transportation Inc            601 Marco Rd           Apollo, PA 15613−8854
2333245   PA Dept of Tax &Rev              Dept 280405          Harrisburg, PA 17128−0405
2333246   PA Dept of Tax &Rev              Dept 280405          Harrisburg, PA 17128−0405
2333252   PC Connection Sales Corp             PO Box 4520            Woburn, MA 01888−4520
2333257   PF Technologies, Inc.           Northgate Industrial Park          759 Northgate Circle         New Castle, PA 16105
2333263   PMP Fermentation Products, Inc.             900 N.E. Adams Street            Peoria, IL 61603
2333267   PPG Industries Chlor−Alkali             PO Box 534998            Atlanta, GA 30353
2333268   PPG Industries, Inc.          Monroeville Chemicals Center             440 College Park Drive         Monroeville, PA
          15146
2338458   Par Industrial Corporation           One Plant Road           Nitro, WV 25143
2333247   Par Technologies           6325 Constitution Drive           Fort Wayne, IN 46804
2333248   Paradise Inn Inc Sandy Hughes             PO Box 223           Rt 34 Bowles Ridge Rd           Red House, WV 25168
2333249   Patrick Ford         6923 Plum Ranch Rd             Santa Rosa, CA 95404
2333251   Paul Bradley          35 Blue Jay Drive          Washington, PA 15301
2338315   Paul Kirk, d/b/a Bar Knuckles Tattoo Shop              c/o Neely &Callaghan           159 Summers Street         Charleston,
          WV 25301
2333253   Pena−Plas         2710 Neville Rd           Pittsburgh, PA 15225
2333254   Penton Media           24657 Network Place            Attn Sam Posa           Chicago, IL 60673−1246
2333255   Petroleum Pipe &Supply Company Inc.                PO Box 545           Carnegie, PA 15106
2333256   Petroleum Products            PO box 644274           Pittsburgh, Pa 15264
2350278   Petroleum Products Inc.            Kyle A. Baisley          4408 Lonas Drive          Knoxville, TN 37909
2333258   Pitney Bowes Credit Corporation             PO Box 856460            Louisville, KY 40285
2333259   Pitney Bowes Global Financial Services             PO Box 371887             Pittsburgh, PA 15250
2349949   Pitney Bowes Global Financial Services LLC                27 Waterview Drive           Shelton, CT 06484
2333260   Pitts Allegheny &McKees Rocks Railroad                149 Nichol Ave           McKees Rocks, PA 15136
2333261   Pittsburgh Pirates         115 Federal Street         Pittsburgh, PA 15212
2333262   Planet Earth Internet Services           P O Box 7855           Cross Lanes, WV 25356
2338462   Poca Blending &Environmental Operating                1 Par Industrial Park         Nitro, WV 25143
2333264   Polymer Ventures            1612 Harbor View Road             Charleston, SC 29412
2333266   Powertrack International           PO Box 722           Allison Park, PA 15101
2338316   Pray Construction Company              c/o Bailey &Glasser LLP            209 Capitol Street       Charleston, WV
          25301
2333269   Precision Testing Laboratory            PO Box 1985           Beckley, WV 25802
2333270   Preiser Scientific Inc.         94 Oliver Street        St Albans, WV 25177
2333271   Pro Build        500 Patrick Street          Charleston, WV 25312
2333272   Pro−Lab         1675 N Commerce Parkway                 Suite 100         Weston, FL 33326
2333273   Propel HR          669 N. Academy Street            Greenville, SC 29601
2333274   Prospect Trucking           5776 Prospect Drive           Newburgh, IN 47630
2333275   Purchase Power           PO Box 371874            Pittsburgh, PA 15250
2333276   Quala Wash           PO Box 534698            Atlanta, GA 30353
2333277   Quality Carriers         4910 Payspahere Circle            Chicago, IL 60674
2333278   Quick Delivery           PO Box 20109           Canton, OH 44701
2333280   RAM Industrial Services Inc            PO Box 748            Leesport, PA 19533
2333284   REIC Consultants Inc            PO Box 286          Beaver, WV 25813
2333292   RJW Construction Inc             P O Box 10         Buffalo, WV 25033
2333297   ROC Inc.         PO Box 55            Grafton,, WV 26354
2333308   RSP Fire Protection &Equipment              5 Jordan Addition           PO Box 449          Scott Depot, WV 25560
2338317   Rachel Blakenship            c/o Hare, Wynn, Newell &Newton LLP                2025 Third Avenue North, Suite
          800        Birmingham, AL 35203
2333279   Rain for Rent          4350 Golf Acres Drive           Charlotte, NC 28208
2333282   Ramsey Insurance            P O Box 4025          Charleston, WV 25364
2333283   Rantec Corporation            7300 Metro Blvd           Suite 570        Minneapolis, MN 55439
2338318   Reema Family Hairstyling             Tabor Lindsay &Associates             P.O. Box 1269         Charleston, WV
          25325
2333285   Remco Sales           P O Box 2907           Charleston, WV 25330
2333286   Renessenz LLC            601 Crestwood Street           Jacksonville, FL 32201
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1FiledFiled
                                         12/16/14
                                              06/19/14Entered 12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                          Pg  13 of 20
                       Order Mailing: Notice Recipients Page 11 of 14
2338319   Republic Services #971            208 N. Caldwell Street          Charlotte, NC 28202
2333287   Resolv Corporation           237 Worthen Road East             Lexington, MA 02421
2333288   Resource Valuization Inc            PO Box 8172           South Charleston, WV 25303
2333289   Richard J. Arsenault, Esq.           Neblett, Beard &Arsenault           2220 Bonaventure Court          P.O. Box
          1190        Alexandria, LA 71309
2333290   Richmond Optics            PO Box 69005            Charleston, WV 25334
2333291   Rioglass Solar, Inc.         13351 W. Rioglass Solar Rd.            Surprise, AZ 85379
2333293   Robert Fitzsimmons, Esq.            Fitzsimmons Law Firm PLLC               1609 Warwood Avenue            Wheeling, WV
          26003
2333295   Robert L. Johns, Trustee           216 Brook Street         Suite 301         Charleston, WV 25304
2338320   Robert Stringer         c/o James Humphreys &Associates               10 Hale Street, Suite 400        Charleston, WV
          25301
2333296   Robert Warner, Esq.           Warner Law Offices PLLC              227 Capital Street        Charleston, WV 25301
2333298   Rock Meadow Estates, LLC               231 Airways Drive           Bessemer City, NC 28016
2333299   Rodney Rodavich            6104 Stonecreek Lane            Washington, PA 15301
2333301   Roger Hall         1132 Stanton Drive            Charleston, WV 25306
2338321   Roger and Angel Strickland            c/o Hare, Wynn, Newell &Newton LLP                2025 Third Avenue North, Suite
          800        Lexington, KY 40507
2333302   Rogers Electrical Contracting Company              2110 Pleasant Valley Road            Fairmont, WV 26554
2338322   Rondoco, Inc. d/b/a Donut Connection              c/o Neely &Callaghan           159 Summers Street         Charleston, WV
          25301
2333305   Ross Engineering, Inc.           PO Box 12308           Hauppauge, NY 11788−0615
2333306   Roto Rooter          PO Box 7582           Charleston, WV 25356−0582
2333307   Roy N. Howard           5700 Ironwood Drive             Newburgh, IN 47630
2333310   RussTech Inc.          11208 Decimal Drive            Louisville, KY 40299
2338323   Rusty A. Carpenter           c/o John Kennedy Baily Law             P.O. Box 2505          Charleston, WV 25329
2333319   SB Services         10191 CR 417            Tyler, TX 75704
2333320   SBS Dust Management Tech                Tom Westbrook            10191 CR 417          Tyler, TX 75704
2333326   SGS         Citibank          PO Box 2502           Carol Stream, IL 60132−2502
2333347   SMI Inc.         12219 SW 131 Ave              Miami, FL 33186−6401
2333351   SNF Incorporated           One Chemical Plant Road              P.O. Box 250        Riceboro, GA 31323
2333352   SNF, Inc.         PO Box 404637            Atlanta, GA 30384−4637
2333359   SPX Flow Technology              PO Box 277886            Atlanta, GA 30384
2333311   Safeguard         PO Box 219            North Tazewell, VA 24630
2333312   Safeguard Business Systems             1180 Church Rd Ste A            Landsdale, PA 19446
2333313   Safeguard Business Systems             PO BOx 88043             Chicago, IL 60680−1043
2333314   Safelite       200 MacCorkle Ave SW               Charleston, WV 25301
2333315   Sagar Enterprises, Inc.         Nicole Avenue           M.R.I.E., Bldg 164         McKees Rocks, PA 15136
2333316   Sal Chemical          PO Box 145200             Dept 1032         Cincinnati, OH 45250−5200
2333317   Sam O'Dell         515 Lloyd Street            Summersville, WV 26651
2333318   Sasol        PO Box 535071             Atlanta, GA 30353−5071
2333321   Schneider National          PO Box 28496            Atlanta, GA 30384−1496
2333322   Schwerman Trucking Co              62522 Collections Center Drive            Chicago, IL 60693−0625
2338324   Scott Miller        c/o The Sutter Law Firm            1598 Kanwha Blvd, East            Charleston, WV 25311
2333323   Screen Graphics          PO Box 565            Five Bank Street         Nitro, WV 25143
2333324   Service Plus         PO Box 893           Morgantown, WV 26507−0893
2333325   Settlemyre Industries, Inc.          P.O. Box 158          Clarksville, OH 45113
2333328   Shamblin Stone          P.O. Box 510            Dunbar, WV 25064−0510
2333327   Shamblin Stone          PO box 510            Dunbar, WV 25064−0510
2338325   Shape Shop, Inc.          c/o Mayer, Ford &Glasser             P.O. Box 11090         Charleston, WV 25339
2338326   Shelton's of Kanawha City, LLC             c/o Freeman &Chiartas            P.O. Box 347         Charleston, WV
          25322
2333329   Sherwin Williams           217 Randolph St           Charleston, WV 25302
2356227   Shirley Louise Burns           c/o William V. DePaulo, Esq.            179 Summers Street, Suite 232         Charleston, WV
          25301
2333330   Shred−It Usa          PO Box 905384             Charlotte, NC 28290−5384
2333331   Siemens         c/o Gilson Engeneering Sales            400 Allen Drive Ste 401           Charleston, WV 25302
2333332   Siemens Industry Inc           PO Box 2715           Carol Stream, IL 60132
2333333   Siemens Industry, Inc.          PO Box 371−034             Pittsburgh, PA 15251−7034
2333334   Sigma−Aldrich           PO Box 535182             Atlanta, GA 30353−5182
2333335   Sigma−Aldrich Inc           P.O. Box 535182            Atlanta, GA 30353−5182
2333336   Silverlake Holding, LLC            2406 Lynch Road            Evansville, IN 47711
2333337   Silverlake Holdings, LLC            2408 Lynch Road            Evansville, IN 47711
2333338   Simple Solutions Printing Inc           PO Box 601           110 E Main Street          West Frankfort, IL 62896
2333339   SimplexGrinnell TYCO              Dept CH 10320            Palatine, IL 60055−0320
2333340   Simply Trucking           80 Hilltop Drive          Charleston, WV 25071
2333341   Simpson Weather Associates              809 E Jefferson Street         Charlottesville, VA 22902
2333346   Slattery Enterprises Inc         PO Box 4368           Gillette, WY 82717−4283
2333348   Smith Concrete          Rt 1 Box 74           Poca, WV 25159
2333349   Smith Fastener Co. Inc           PO Box 4356           Charleston, WV 25364−4356
2333350   Snap On Credit          PO Box 98850             Chicago, IL 60693
2338327   Sonja A. Marshall          c/o James Humphreys &Associates                10 Hale Street, Suite 400       Charleston, WV
          25301
2338328   South Hills Market and Cafe, LLC              c/o Mani Ellis &Layne PLLC            602 Virginia Street
          East        Charleston, WV 25325
2333354   Specialty Products &Insulation Co             PO Box 904079            Charlotte, NC 28290−4079
2333355   Speedway          2 Green Road           Charleston, WV 25305
2333356   Spirit Services Inc.        15801 Lockwood Rd              Williamsport, MD 21795
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1FiledFiled
                                         12/16/14
                                              06/19/14Entered 12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                          Pg  14 of 20
                       Order Mailing: Notice Recipients Page 12 of 14
2333357   Spraying Systems Co            PO Box 95564           Chicago, IL 60694−5564
2333358   Sprint        PO Box 4181            Carol Stream, IL 60197
2338329   Spyros Parking Lots           c/o J. Timothy DiPiero          604 Virginia Street East        Charleston, WV 25301
2333360   St Albans High School Cheerleaders             2100 Kanawha Terrace            St Albans, WV 25177
2333361   Standard Envrionmental            147 11th Ave Suite 100           South Charleston, WV 25303
2333362   Standard Funding          PO Box 9011            Syosset, NY 11791−9011
2333363   Staples        2810 Mountaineer Blvd             Charleston, WV 25309
2333364   Staples Office Supply           P.O. Box 415256          Dept DC          Boston, MA 02241
2333365   State Electric       PO Box 890889             Charlotte, NC 28289−0889
2333366   State of Alaska        PO Box 110806             Business Licensing Program           Jeneau, AK 99811−0806
2333367   Statewide Concrete Pumping              406 MacCorkle Avenue            St Albans, WV 25177
2333368   Staveley Services         Staveley Services          PO Box 711266           Cincinnati, OH 45271−1266
2333369   Stepan Company           PO Box 905520             Charlotte, NC 28290−5520
2333370   Stephanie Elkins         70 Kilgore Creek Rd            Milton, WV 25541
2333371   Stephen P. Meyer, Esq.            Meyer, Ford, Glasser &Radman PLLC               120 Capitol Street      P.O. Box
          11090         Charleston, WV 25339
2333372   Steve Chapman           100 Laura Lane #4            Charleston, WV 25311
2333373   Stoel Rives LLP          900 SW Fifth Ave Suite 2600             Portland, OR 97204
2333374   Streamline Automation, LLC              3025 S 48th Street        # 103         Tempe, AZ 85282
2333375   Stringer Resource Group            PO Box 2078           Greer, SC 29652
2333377   Stuart Calwell, Esq.         The Calwell Practice, L.C.          Law and Arts Center West          500 Randolph
          Street       Charleston, WV 25302
2333378   Suddenlink         PO Box 742535             Cincinnati, OH 45274−2535
2338330   Summer Johnson and Robert Johnson               c/o The Caldwell Practice          Law and Arts Center West         500
          Randolph Street         Charleston, WV 25302
2333379   Sun Belt Rentals         PO Box 409211            Atlanta, GA 30384−9211
2333381   Superior Ag Resources            7780 S SR 57          Oakland City, IN 47660
2333382   Superior Carriers         4744 Paysphere Circle           Chicago, IL 60674
2333383   Superior Filter Company Inc            PO Box 686          Man, WV 25635
2333384   Superior Plus Construction Products Cor            PO Box 904079            Charlotte, NC 28290
2338331   Susan K. Dyer         c/o The Bell Law Firm PLLC               P.O. Box 1723         Charleston, WV 25326
2338332   Suzette L. Conley          c/o Warner Law Offices, PLLC             227 Capitol Street        Charleston, WV 25301
2338333   Syrra Salon, LLC          c/o Neely &Callaghan            159 Summers Street           Charleston, WV 25301
2333385   T N T Garage Door            2051 Winfield Road           Winfield, WV 25213
2333386   T. W. Metals         10104 Granite Street           Charlotte, NC 28273
2333388   TCG Global, LLC            14104 E. Davies Ave            Centennial, CO 80112
2333409   TNK Resources           16255 Lucky Bell Lane             Newbury, OH 44065
2333410   TNT Garage Doors Inc.             2051 Winfiled Rd          Winfield, WV 25213
2338337   TWOD, Inc.          c/o Bailey &Glasser LLP             209 Capitol Street         Charleston, WV 25301
2338467   Taggart Global, LLC            4000 Town Center Blvd.            Canonsburg, PA 15317
2333387   Tanklink Corp         Dept CH 19380             Palatine, IL 60055−9380
2356226   Tara Sweeney          c/o William V. DePaulo, Esq.             179 Summers Street, Suite 232         Charleston, WV
          25301
2356137   Taylor Bare        c/o Finz &Finz, P.C.           410 East Jericho Turnpike          Mineola, NY 11501
2333389   Telephone Movers of WV, Inc.              201 Trent Street        Saint Albans, WV 25177
2333390   Telrite Corporation         P.O. Box 60093           New Orleans, LA 70160
2333391   Temple−Inland          PO Box 644095             Pittsburgh, PA 15264−4095
2333392   Tennant         PO Box 71414             Chicago, IL 60694
2333393   Terry Cline        505 50th Street          Charleston, WV 25304
2333395   Tetra Performance Chemicals              P O Box 841185          Dallas, TX 75284−1185
2333396   Tetra Technologies, Inc.          25025 I−45 North           The Woodlands, TX 77380
2333397   Thaman Rubber Company                3280 Hageman Street           Cincinnati, OH 45241
2338468   The American Coal Company                9085 State Route 34 N          Galatia, IL 62935
2333399   The Hartford        PO Box 2907             Hartfor, CT 06104−2907
2333398   The Hartford        PO Box 660916              Dallas, TX 75266−0916
2338469   The Ohio Valley Caol Company               56854 Pleasant Ridge Road           Alledonia, OH 43902
2338334   The Vintage Barber Shop c/o Justin Amos              Kathy Brown Law PLLC              P.O. Box 631        Charleston, WV
          25322
2333400   The Wall Street Journal           PO Box 7007          Chicopee, MA 01021−9985
2338335   Thelma Fays LLC            c/o Meyer Good Glasser &Radman                120 Capitol Street       P.O. Box
          11090         Charleston, WV 25339
2333401   Thomas Combs &Spann PLLC                  PO Box 3824           Charleston, WV 25338
2333402   Thomas Scientific          1654 High Hill Rd           PO Box 99          Swedesboro, NJ 08085
2333403   Three Rivers Packaging, Inc.           301 Smith Drive, Suite 5          Cranberry Township, PA 16066−6209
2333404   Tideline Logistics Center           4837 Carolina Beach Road           Suite 208        Wilimington, NC 28412
2333405   Tidewater Tranist Company, Inc             P O Box 189          Kinston, NC 28502
2333406   Time D.C. Inc         PO Box 1743             Owesnboro, KY 42301
2333407   Timothy C. Bailey, Esq.           Bucci Bailey &Jarvins L.C.           213 Hale Street        Charleston, WV 25337
2338336   Timothy Wilburn           c/o James Humphreys &Associates               10 Hale Street, Suite 400       Charleston, WV
          25301
2333408   Tincher Safety         P O Box 38           Cabin Creek, WV 25035
2333411   Tomahawks           MacCorkle Ave SW              St Albans, WV 25177
2333412   Total Equipment Company               400 Fifth Avenue          Coraopolis, PA 15108
2333413   Trans America Retirment             8488 Shepard Farm Drive           West Chester, OH 45069
2333414   Transflo        P.O. Box 640839            Pittsburgh, PA 15264−0839
2333415   Travelers        CL &Specialty Remittance Cent              Hartford, CT 06183
2333419   Tri Pro        566 Big Coal Fork Drive            Charleston, WV 25306
2333420   Triad Engineering Inc.           4980 Teays Valley Road           Scott Depot, WV 25560
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1FiledFiled
                                         12/16/14
                                              06/19/14Entered 12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                          Pg  15 of 20
                       Order Mailing: Notice Recipients Page 13 of 14
2333421   Troy A. Giatras, Esq.         The Giatras Law Firm PLLC             118 Capital Street, 4th Floor       WV 25307
2333422   True Value Hardware           600 Greene Street         Marietta, OH 45750
2333423   Tyler Mountain Water           P.O. Box 909         Nitro, WV 25143
2333424   U. S. Treasury         Cincinnati, OH 45999
2338338   U.S. Treasury         1500 Pennsylvania Avenue            Washington, D.C. 20220
2333435   UPS         3501 MacCorkle Ave SE             Charleston, WV 25304
2333436   UPS         P O Box 7247−0244            Philadelphia, PA 19170
2333425   Underwater Services          PO Box 268          Scott Depot, WV 25560
2333426   Union Oil &Gas Inc           P. O. Box 27         Winfield, WV 25213
2333427   Unishippers        4225 30th Ave S           Moorehead, MN 56560
2333428   United States Plasti       United States Plastic Corp         1390 Neubrecht Rd            Lima, OH 45801−3196
2333429   United States Plastic Corp         1390 Neubrecht Rd          Lima, OH 45801
2333430   United States Postal Service         Postmaster         Charleston, WV 25301
2333431   United Talent         PO Box 1948           Charleston, WV 25327−1948
2333432   Univar USA          13009 Collections Center           Chicago, IL 60693
2337249   Univar USA Inc.          17425 NE Union Hill Road            Redmond, WA 98052
2333433   Universal Electric        91 D MacCorkle Ave            South Charleston, WV 25303
2333434   Universal Electric LLC          91 D MacCorkle Ave           South Charleston, WV 25303
2333437   Useful Solutions         124 Lintel Drive         McMurray, PA 15317
2333439   Usher Transport Inc         PO Box 16310           Louisville, KY 40256
2338470   UtahAmerican Energy, Inc.           45 West Sego Lily Drive, #401           Sandy, UT 84070
2333443   VFP Fire Systems          2340 Paysphere Circle          Chicago, IL 60674
2333450   VP Chemicals          3625 Washington Pike            Bridgeville, PA 15017
2333440   Valley Trucking, Inc.         709 Coopers Creek Rd           Charleston, WV 25312
2333441   Valtronics Inc        PO Box 490           Ravenswood, WV 26164
2338339   Vantap LLC d/b/a andalia Grille           c/o Thompson Barney           2030 Kanawha Blvd, East           Charleston, WV
          25311
2333442   Verizon        PO Box 660720            Dallas, TX 75266
2333444   Viking Machinery Company              218 Scott Street       Kingsport, TN 37664
2333445   Vincennes Industrial Rental &Contracto            102 Executive Blvd.         Vincennes, IN 47591
2333446   Virginia Dept of Tax and Revenue            PO Box 1777          Richmond, VA 23218−1777
2333447   Virginia Dept of Taxation          P O Box 1777          Richmond, VA 23218−1777
2338471   Virginia Electric and Power Company            120 Tredegar Drive          Richmond, VA 23219
2333449   Vizions Inspection LLC           506 Caroline Ave         Williamstown, WV 26187
2338340   Von Harvey          c/o Ranson Law Offices           1562 Kanawha Blvd East            P.O. Box 3589         Charleston,
          WV 25336
2335198   W W Grainger Inc.          Attn: Special Collections Dept          MES17884784554             7300 N. Melvina         Niles
          IL 60714
2333468   WV American Water Company                PO Box 371880           Pittsburgh, PA 15250−7880
2333469   WV Bureau of Employm              WV Bureau of Employment Progra              Unemployment Compensation
          Divi       Charleston, WV 25321
2333470   WV Bureau of Employment Programs                Contribution Accounting          P O Box 106          Charleston, WV
          25321
2338343   WV Bureau of Employment Programs                P.O. Box 2753          Charleston, WV 25330
2333471   WV DEP − Division of            WV DEP − Division of Air Quali            601 57th Street SE         Charleston, WV
          25304
2338344   WV DEP − Division of Water &Sewage                P.O. Box 40315          Charleston, WV 25364−0315
2333472   WV DEP − Division−1             WV DEP − Division of Water and             PO Box 40315           Charleston, WV
          25364−0315
2333473   WV DEP Division of Water &Waste Manage                 601 57th Street        Charleston, WV 25304
2333479   WV DMV            Bldg 3         1800 Kanawha Blvd E            Charleston, WV 25317
2333474   WV Department of Environmental Protection              Division of Air Quality         601 57th Street       Charleston,
          WV 25304
2333475   WV Department of Highways              1900 Kanawha Blvd. E            Charleston, WV 25305
2333476   WV Department of Tax and Revenue               Withholding         P O Box 1667          Charleston, WV 25326
2333477   WV Dept of Tax &Revenue              Internal Auditing        P.O. Box 1667          Charleston, WV 25326
2333478   WV Dept of Tax &Revenue              Internal Auditing        PO Box 1667          Charleston, WV 25326
2333480   WV Electric Industries          PO Box 1587          Fairmont, WV 26554
2333481   WV Fire Protection          457 20th Street        Dunbar, WV 25064
2333482   WV Manufactures Register            1633 Central Street         Evanston, IL 60201
2333483   WV Office of Miners Health &Safety             1615 Washington Street E          Charleston, WV 25311−2126
2333484   WV Parkways Authority             PO Box 1469          Charleston, WV 25325−1469
2333485   WV Secretary of State          Corporations Division         1900 Kanawha Blvd East            Charleston, WV
          25305
2333486   WV Secretary of State's Office          Business &Licensing Divison           PO Box 40300           Charleston, WV
          25364
2333487   WV Secretary of State's Office          Business and License          PO Box 40300           Charleston, WV 25364
2333488   WV Spring and Radiator            200 W 19th Street         Nitro, WV 25143
2333489   WV State Emergency Response Commission                 1900 Kanawha Blvd Bldg 1             Room EB−80          Charleston,
          WV 25305
2333492   WV State Tax Department            ATTN: Doug Skarzinski             PO BOX 1221           Charleston, WV
          25324−1221
2333490   WV State Tax Department            Internal Auditing Division          PO Box 2666          Charleston, WV
          25330−2666
2333493   WV State Tax Department            Revenue Division          PO Box 2745           Charleston, WV 25330
2333494   WV State Tax Department            Tax Account Administration Div            PO Box 11751           Charleston, WV
          25339−1751
2333491   WV State Tax Department            Taxpayer Services Division           PO Box 3784          Charleston, WV 25337
      09-50026-mg
      Case           Doc 13025-9
           2:14-bk-20017  Doc 422-1FiledFiled
                                         12/16/14
                                              06/19/14Entered 12/16/14
                                                         Entered       16:56:41
                                                                  06/19/14        Exhibit
                                                                           15:16:08  Desc 9
                                          Pg  16 of 20
                       Order Mailing: Notice Recipients Page 14 of 14
2333495   WV State Tax Dept         Taxpayer Services Division          PO Box 3784         Charleston, WV 25337
2333496   WV State Tax Dept         Taxpayer Services Division          PO Box 3784         Charleston, WV 25337−8297
2333497   WV Steel        300 Wright Road         Poca, WV 25159
2333498   WV Steel        P.O. Box 1029         Poca, WV 25159
2333499   WV Tire Disposal         PO Box 786         Summersville, WV 26651
2333500   WV Water Research Institute         PO Box 6064          Morgantown, WV 26506−6064
2333501   WV Workers Compensat            WV Workers Compensation Divisi             PO Box 921         Charleston, WV
          25323−0921
2333502   WVU Athletic Department          PO Box 0877          Morgantown, WV 26507
2333503   WVU Intercollegiate Athletics        PO Box 0877           Morgantown, WV 26507
2333504   WVUF − Mountaineer Athletic Club           PO Box 0877           Morgantown, WV 26507−9931
2333451   Walker Machinery         112 Carbide Drive         Belle, WV 25015
2338341   Wanda Tribble        c/o Wood Law Office, L.C.          1118 Kanawha Blvd, East           Charleston, WV 25323
2333453   Waste Management Services          PO Box 9001054            Louisville, KY 40290−1054
2333452   Waste Management of West Virginia           PO Box 9001797           Louisville, KY 40290
2333454   Watcon Inc.        2215 S Main Street        South Bend, IN 46613
2333455   Wayne Welding Inc.         100 Prichard Industrial Park        Prichard, WV 25555
2333456   We Minus Me          8007 Paseo Esmerado         Carlsbad, CA 92009
2333457   Weeds Inc        250 Bodley Rd         Aston, PA 19014
2333458   Weeds No More Inc          PO Box 236         Waltersburg, PA 15488
2333459   Welding Inc        PO Box 6007         1712 Pennsylvannia Ave            Charleston, WV 25362
2336388   Wells Fargo Bank, N.A.         Business Direct Division        P.O. Box 29482         Phoenix, AZ 85038−8650
2333460   West Virginia Fire Protection       457 20th Street        Dunbar, WV 25064
2333461   Whitaker Chemicals, LLC          PO Box 890868          Charlotte, NC 28289−0868
2333462   Whitesel Brothers       1332 Garbers Church Rd           Harrisonburg, VA 22801
2333463   William C. Forbes, Esq.        Forbes Law Offices, PLLC           1118 Kanawha Blvd East          Charleston, WV
          25301
2338342   William Lipscomb         c/o James Humphreys &Associates            10 Hale Street, Suite 400       Charleston, WV
          25301
2333464   William Tis       100 Edgecrest Drive         Verona, PA 15147
2333465   Wizz Well Services Inc        PO Box 2604          Gillette, WY 82717
2333466   Workin.com Inc.        343 Church Street        Santa Cruz, CA 95060
2333467   World Class Shipping        210 E. Sunrise Highway           Suite 203       Valley Stream, NY 11581
2333506   YRC Freight         PO Box 93151         Chicago, IL 60673−3151
2333507   YWCA Girls Night Out          1114 Quarrier Street         Charleston, WV 25301
2333505   Young Floral        215 Pennsylvania Ave.        Charleston, WV 25302
2333508   Zaclon LLC         2981 Independence Road          Cleveland, OH 44115
2333509   Zee Medical        PO Box 781503         Indianapolis, IN 46278−8503
2332981   ecoDril, LLC        124 Lintel Drive       McMurray, PA 15317
                                                                                                                  TOTAL: 821
  09-50026-mg
Case            Doc 13025-9
     2:14-bk-20017  Doc 421 Filed
                             Filed 12/16/14
                                   06/18/14 Entered
                                              Entered 12/16/14
                                                      06/18/14 16:56:41
                                                               13:41:03 Exhibit 9
                                                                        Desc Main
                                   Pg
                            Document  17 of 20
                                          Page 1 of 1



                      UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 In re

 FREEDOM INDUSTRIES, INC.                                         Case No. 14-20017
          Debtor-in-Possession.                                   Chapter 11


                NOTICE AND MOTION FOR APPROVAL OF PROPOSED
                 PUBLICATION NOTICE OF CLAIMS BAR DATE AND
                   PUBLICATION SCHEDULE AND REQUEST FOR
                         EXPEDITED CONSIDERATION


         Now comes the Local Claim and Notice Agent appointed in this case by order entered
 June 17, 2014, and gives notice of and moves for approval of the proposed Notice of the claims
 bar date for publication, which Notice is attached hereto as Exhibit A, and for approval of the
 proposed publication schedule identifying newspapers and frequency of publications, attached
 hereto as Exhibit B.

        Movant shared the proposed Notice with several attorneys involved in this case and has
 incorporated into the Notice comments and revisions agreed upon by those attorneys who
 commented.

        The publication schedule provides for two publications in eight newspapers that are
 reported by the West Virginia Secretary of State as qualified for legal notice in the following
 counties: Boone, Cabell, Clay, Jackson, Kanawha, Lincoln, Logan, Putnam and Roane.

        Movant further requests expedited treatment of this Motion as Movant is moving forward
 with the publication schedule.

                                                    Respectfully submitted,

                                                    James W. Lane, Jr.,
                                                    Local Claims and Notice Agent

 /s/ James W. Lane, Jr.
 James W. Lane, Jr., Esq. (WV Bar# 6483)
 Flaherty Sensabaugh Bonasso PLLC
 PO Box 3843
 Charleston, WV 25338-3843
 (304) 205-6373
09-50026-mg
Case           Doc 13025-9
     2:14-bk-20017  Doc 421-1 FiledFiled
                                    12/16/14
                                         06/18/14Entered 12/16/14
                                                    Entered       16:56:41
                                                             06/18/14        Exhibit
                                                                      13:41:03  Desc 9
                                     Pg  18 of 20
                   Exhibit B- Publication Schedule Page 1 of 1


                                 NEWSPAPER LIST




Charleston Gazette              once a week for two consecutive weeks including
                                one Sunday edition

Clay County Free Press          once a week for two consecutive weeks

Coal Valley News                once a week for two consecutive weeks

Huntington Herald Dispatch      once a week for two consecutive weeks including
                                one Sunday edition

Jackson Herald                  once a week for two consecutive weeks

Lincoln Journal                 once a week for two consecutive weeks

Logan Banner                    once a week for two consecutive weeks

Spencer Times Record            once a week for two consecutive weeks
09-50026-mg
Case           Doc 13025-9
     2:14-bk-20017  Doc 421-2 FiledFiled
                                    12/16/14
                                         06/18/14Entered 12/16/14
                                                    Entered       16:56:41
                                                             06/18/14        Exhibit
                                                                      13:41:03  Desc 9
                                     Pg  19 of 20
                     Exhibit A Proposed Notice Page 1 of 1




                                                   Legal Notice



              If You Have a Claim Against Freedom Industries, Inc.
                    from the Chemical Spill in the Elk River on
               January 9, 2014 or Believe that Freedom Industries
                        Owes You Money for Any Reason
                           Claims Must Be Filed by August 1, 2014
            Numerous businesses and individuals may        of Claim. If you already filed a Proof of
            have claims against Freedom Industries         Claim with the Court you do not have to
            Inc. (“Freedom”), including those who          file another one.
            believe that they may have claims because
            of chemicals spilled into the Elk River                 How Do I File a Claim?
            on January 9, 2014 (the “Chemical              You must file a Proof of Claim by either:
            Spill”). Freedom has filed for chapter         (a) completing a Proof of Claim online at
            11 bankruptcy and the case is pending in       www.wvsb.uscourts.gov or (b) mailing
            the United States Bankruptcy Court for         or delivering a paper Proof of Claim
            the Southern District of West Virginia         form so that it is actually received by the
            (the “Bankruptcy Court”). By order of          Bankruptcy Clerk by August 1, 2014.
            the Bankruptcy Court, all individuals and
            businesses with claims against Freedom          What Happens if I Do Not File a Claim?
            must file any claims on or before August 1,    Any individual or business who does
            2014 (“Bar Date”).                             not file a claim may be ineligible for any
                                                           payment and will be forever barred from
                          Who Must File?                   asserting the claim against Freedom.
            If you believe that you have a claim against   Filing a claim does not automatically
            Freedom resulting from the Chemical Spill      guarantee that there will be a cash
            or you believe that Freedom Industries         distribution or that you will receive any
            owes you money for any reason, you must        money. If a cash distribution is made,
            file proof of claim (“Proof of Claim”)         claimants may receive only a small
            to maintain and/or preserve any claim          fraction of their claim.
            that you have against Freedom. Claims
                                                           This notice is only a summary. For
            can be filed for: out-of-pocket expenses
                                                           complete information including how to file
            (e.g., bottled water); lost wages; lost
                                                           an online Proof of Claim and how to obtain
            sales or income (e.g., for a shutdown,
                                                           and file a paper Proof of Claim:
            interruption of business, loss of business,
            etc.); medical expenses; and damages for       • Visit www.wvsb.uscourts.gov;
            other non-economic injuries (e.g., anxiety,    • Email claimsagent@elkriverwvspill.com;
            inconvenience, etc.).                          • Call the Claims Agent (1-866-245-0312)
            Even if you have already filed a lawsuit       You may wish to consult an attorney
            against Freedom, you must file a Proof         regarding this matter.
09-50026-mg
Case           Doc 13025-9
     2:14-bk-20017          FiledFiled
                    Doc 421-3     12/16/14
                                       06/18/14Entered 12/16/14
                                                  Entered       16:56:41
                                                           06/18/14        Exhibit
                                                                    13:41:03  Desc 9
                                   Pg  20 of 20
                         Proposed Order Page 1 of 1



                      UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re

FREEDOM INDUSTRIES, INC.                                           Case No. 14-20017
         Debtor-in-Possession.                                     Chapter 11


                        ORDER APPROVING PROPOSED
                 PUBLICATION NOTICE OF CLAIMS BAR DATE AND
                           PUBLICATION SCHEDULE


        On this day the Court considered the Motion of the Local Claim and Notice Agent for
approval of the Notice to be published in newspapers by the Claim Agent and for approval of the
proposed publication schedule identifying newspapers and frequency of publications. The Court
having reviewed the Notice finds that it accurately and adequately gives notice of the claims bar
date in this case. The Court further finds that the publication schedule adequately provides for
publication in the West Virginia counties that were affected by the Elk River Spill incident on
January 9, 2014.

       Accordingly, it is hereby ORDERED that that proposed Notice and the proposed
publication schedule is approved.


                                                    _____________________________
                                                    Ronald G. Pearson, Judge

Submitted by:

/s/ James W. Lane, Jr.
James W. Lane, Jr., Esq. (WV Bar# 6483)
Flaherty Sensabaugh Bonasso PLLC
PO Box 3843
Charleston, WV 25338-3843
(304) 205-6373
